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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                         *
                                                  *
           v.                                     *     CRIMINAL NO. 23-cr-257 (TSC)
                                                  *
 DONALD J. TRUMP,                                 *
                                                  *
                 Defendant.                       *
                                                  *

                                              ORDER

       Having considered the parties’ filings, and mindful of the Court’s responsibility to protect

the fundamental right to a fair trial by impartial jurors from comments that are likely to influence

the outcome of the trial or prejudice the jury venire, see Gentile v. State Bar of Nevada, 501 U.S.

1030, 1075 (1991), upon the Court’s finding that a narrowly tailored order governing extrajudicial

statements by the parties is the least restrictive measure to protect this process from materially

prejudicial outside interference, and pursuant to Local Criminal Rule 57.7(c), the Court orders as

follows:

       1.       The parties in this case and their attorneys are prohibited from making or

authorizing statements to the media or in public settings, including through social media, that pose

a substantial likelihood of material prejudice to this case. Such statements include, but are not

limited to, (a) statements regarding the identity, testimony, or credibility of prospective witnesses;

and (b) disparaging and inflammatory or intimidating statements about any party, witness,

attorney, court personnel, or potential jurors. The defendant is also prohibited from causing

surrogates to make such statements on his behalf.

       2.       Consistent with Local Criminal Rule 57.7, this prohibition does not preclude the

defendant or his attorneys, agents, or others acting on his behalf from (a) quoting or referring
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without comment to public records of the court in the case; (b) announcing the scheduling or result

of any stage in the judicial process; (c) requesting assistance in obtaining evidence; or (d)

announcing without further comment that the defendant denies the charges.




                                                     HON. TANYA S. CHUTKAN
                                                     UNITED STATES DISTRICT JUDGE




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